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                                                                                            E-FILED
                                                           Tuesday, 10 November, 2020 08:47:57 AM
                                                                       Clerk, U.S. District Court, ILCD
                                                                                       39,APPEAL
                         U.S. District Court
               CENTRAL DISTRICT OF ILLINOIS (Urbana)
        CRIMINAL DOCKET FOR CASE #: 2:18−cr−20025−SEM−EIL−1

Case title: USA v. Goodwill
Magistrate judge case number: 2:18−mj−07101−EIL

Date Filed: 06/06/2018
Date Terminated: 10/30/2020

Assigned to: Judge Sue E.
Myerscough
Referred to: Magistrate Judge Eric
I. Long

Defendant (1)
William A Goodwill                   represented by Johanes Christian Maliza
TERMINATED: 10/30/2020                              FEDERAL PUBLIC DEFENDER
                                                    600 E Adams
                                                    2nd Floor
                                                    Springfield, IL 62701
                                                    217−492−5070
                                                    Fax: 217−492−5077
                                                    Email: johanes_maliza@fd.org
                                                    TERMINATED: 09/23/2020
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    Designation: Public Defender or Community
                                                    Defender Appointment

                                                   William L Vig
                                                   VIG LAW
                                                   1100 South 5th Street
                                                   Springfield, IL 62703
                                                   217−241−5628
                                                   Fax: 217−525−0901
                                                   Email: bill@vig−law.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED
                                                   Designation: CJA Appointment

                                                   Christopher L Amero
                                                   HAWKINS AMERO & ROOT
                                                   Suite 2
                                                   202 S Franklin Street
                                                   Decatur, IL 62523
                                                   217−791−5952
                                                   Fax: 217−422−2591

                                                                                                    1
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                                                 Email: chris@amerolaw.com
                                                 TERMINATED: 09/21/2018
                                                 ATTORNEY TO BE NOTICED
                                                 Designation: Pro Bono

                                                 Douglas J Quivey
                                                 FEDERAL PUBLIC DEFENDER
                                                 600 E Adams
                                                 3rd Floor
                                                 Springfield, IL 62701
                                                 217−492−5070
                                                 Fax: 217−492−5077
                                                 TERMINATED: 05/15/2019
                                                 ATTORNEY TO BE NOTICED

Pending Counts                                   Disposition
21:841A=NP.F; NARCOTICS −
POSSESSION. On or about
5/16/18, in Macon County, the                    Defendant sentenced to 120 months imprisonment
defendant did knowingly possess                  to run concurrently to any sentence imposed in U.S.
with the intent to distribute at least           District Court, CDIL Case No. 03−20104−001; 8
500 grams of cocaine in violation                year term of supervised release imposed; and $100
of 21 U.S.C. § 841(a)(1)&                        special assessment.
841(b)(1)(B)(ii).
(1s)

Highest Offense Level (Opening)
Felony

Terminated Counts                                Disposition
21:841A=ND.F; NARCOTICS −
SELL, DISTRIBUTE, OR
DISPENSE. On or about
5/16/2018, in Macon County, the
defendant did knowingly possess                  Dismissed upon sentencing under Superseding
with the intent to distribute at least           Indictment.
500 grams of cocaine, in violation
of 21 U.S.C. § 841(a)(1) &
841(b)(1)(B)(ii).
(1)

Highest Offense Level
(Terminated)
Felony

Complaints                                       Disposition




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21:841A=ND.F On or about
5/16/2018 in Macon County, IL
defendant did possess 500 or more
grams of cocaine with the intent to
distribute it in violation of 21 USC
841(a)(1) and (b)(1)(B).



Plaintiff
USA                                               represented by Ryan Finlen
                                                                 US ATTY
                                                                 201 South Vine
                                                                 Urbana, IL 61802
                                                                 217−373−5875
                                                                 Email: ryan.finlen@usdoj.gov
                                                                 LEAD ATTORNEY
                                                                 ATTORNEY TO BE NOTICED
                                                                 Designation: Assistant US Attorney
Email All Attorneys
Email All Attorneys and Additional Recipients

 Date Filed      #   Page Docket Text
 05/18/2018      1          COMPLAINT as to William Goodwill (1). (KM, ilcd) [2:18−mj−07101−EIL]
                            (Entered: 05/18/2018)
 05/18/2018      2          +++ SEALED DOCUMENT − ORIGINAL DOCUMENT Complaint
                            UNREDACTED (KM, ilcd) [2:18−mj−07101−EIL] (Entered: 05/18/2018)
 05/23/2018                 TEXT ORDER as to William Goodwill Entered by Magistrate Judge Eric I.
                            Long on 5/23/18. Initial Appearance set for 5/23/2018 at 3:00 PM in Courtroom
                            B in Urbana before Magistrate Judge Eric I. Long. (SKR, ilcd)
                            [2:18−mj−07101−EIL] (Entered: 05/23/2018)
 05/23/2018      4          + + PRETRIAL SERVICES REPORT as to William Goodwill (Appenzeller,
                            Kara) [2:18−mj−07101−EIL] (Entered: 05/23/2018)
 05/23/2018                 ORAL MOTION to Unseal Case by USA as to William Goodwill. (SKR, ilcd)
                            [2:18−mj−07101−EIL] (Entered: 05/23/2018)
 05/23/2018                 TEXT ORDER Entered by Magistrate Judge Eric I. Long on 5/23/18 granting
                            Oral Motion to Unseal Case as to William Goodwill (1) at hearing held 5/23/18.
                            (SKR, ilcd) [2:18−mj−07101−EIL] (Entered: 05/23/2018)
 05/23/2018                 Arrest of William Goodwill (SKR, ilcd) [2:18−mj−07101−EIL] (Entered:
                            05/23/2018)
 05/23/2018                 ORAL MOTION to Continue Preliminary Hearing by William Goodwill. (SKR,
                            ilcd) [2:18−mj−07101−EIL] (Entered: 05/23/2018)
 05/23/2018                 ORAL MOTION for Detention by USA as to William Goodwill. (SKR, ilcd)
                            [2:18−mj−07101−EIL] (Entered: 05/23/2018)
 05/23/2018


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                     Minute Entry for proceedings held 5/23/18 before Magistrate Judge Eric I.
                     Long. Appearance of AUSA Eugene Miller for Government. Appearance of
                     WILLIAM GOODWILL in person. Cause called for Initial Appearance.
                     Defendant advised of rights, including right to counsel. Defendant requests court
                     appointed counsel and files financial affidavit. Court finds defendant qualifies
                     and appoints the Federal Defender's Office. AFPD Colleen Ramais present in
                     court and indicates that Johanes Maliza will be lead counsel. Cause called for
                     Preliminary Hearing. Oral motion by defendant to continue Preliminary
                     Hearing; granted. Preliminary Hearing set for 6/6/2018 at 2:30 PM before
                     Magistrate Judge Eric I. Long. Oral motion by Government for Detention. Cause
                     called for Detention Hearing. Defendant waives detention hearing. Court accepts
                     waiver as knowing and voluntary. Court grants oral motion for detention and
                     orders defendant detained pending further proceedings. Written order to be
                     entered. Oral motion by Government to unseal case. No objection by defendant.
                     Oral motion granted and CASE ORDERED UNSEALED. Defendant remanded
                     to the custody of the US Marshal. (Tape #UR−B 3:04 PM.) (SKR, ilcd)
                     Modified on 5/31/2018 to remove telephone information regarding preliminary
                     hearing (SKR, ilcd). [2:18−mj−07101−EIL] (Entered: 05/23/2018)
05/23/2018    5      CJA 23 Financial Affidavit by William Goodwill (SKR, ilcd)
                     [2:18−mj−07101−EIL] (Entered: 05/23/2018)
05/23/2018    6      +++ SEALED DOCUMENT − ORIGINAL DOCUMENT Financial
                     Affidavit UNREDACTED (SKR, ilcd) [2:18−mj−07101−EIL] (Entered:
                     05/23/2018)
05/23/2018    7      ORDER OF DETENTION as to William Goodwill Entered by Magistrate Judge
                     Eric I. Long on 5/23/18. SEE WRITTEN ORDER. (SKR, ilcd)
                     [2:18−mj−07101−EIL] (Entered: 05/23/2018)
05/25/2018    8      Arrest Warrant Returned Executed on 5/23/18 as to William Goodwill. (TC,
                     ilcd) [2:18−mj−07101−EIL] (Entered: 05/25/2018)
06/06/2018    9      INDICTMENT as to William Goodwill (1) count 1. (DS, ilcd) (Entered:
                     06/06/2018)
06/06/2018   10      +++ SEALED DOCUMENT − ORIGINAL DOCUMENT INDICTMENT
                     UNREDACTED (DS, ilcd) (Entered: 06/06/2018)
06/06/2018   11      +++ SEALED DOCUMENT − DEFENDANT INFORMATION SHEET.
                     (DS, ilcd) (Entered: 06/06/2018)
06/06/2018           TEXT ORDER as to William Goodwill Entered by Magistrate Judge Eric I.
                     Long on 6/6/18. The Preliminary Hearing on 6/6/18 at 2:30 PM is VACATED.
                     Due to the filing of an Indictment, the matter is set for Arraignment on
                     6/11/2018 at 10:45 AM in Courtroom B in Urbana before Magistrate Judge Eric
                     I. Long. (SKR, ilcd) (Entered: 06/06/2018)
06/11/2018           Minute Entry for proceedings held 6/11/2018 before Magistrate Judge Eric I.
                     Long. Appearance for the Government by AUSA Ryan Finlen. Appearance of
                     the Defendant WILLIAM A GOODWILL in person and with appointed counsel,
                     AFPD Johanes Maliza. Arraignment as to William A Goodwill (1) Count 1 held.
                     Defendant sworn; advised of charges and possible penalties. Defendant pleads
                     not guilty to Indictment. Scheduling Order to be entered. Defendant is remanded
                     to the custody of the US Marshal. (Tape #UR−B 10:48 AM.) (DS, ilcd)


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                     (Entered: 06/11/2018)
06/11/2018   12      SCHEDULING ORDER entered by Magistrate Judge Eric I. Long on
                     6/11/2018. The Pretrial Conference is set for 7/23/2018 at 11:30 AM in
                     Courtroom A in Urbana before Judge Colin Stirling Bruce. Jury Selection/Jury
                     Trial is set for 7/31/2018 at 9:00 AM in Courtroom A in Urbana before Judge
                     Colin Stirling Bruce. See written Order. (DS, ilcd) (Entered: 06/11/2018)
06/12/2018   13      MOTION for Recusal by William A Goodwill. (Maliza, Johanes) (Entered:
                     06/12/2018)
06/13/2018           TEXT ORDER entered by Judge Colin Stirling Bruce on 6/13/2018. Defendant's
                     Motion for Recusal 13 is GRANTED. The motion is well taken because in this
                     instance, the court recalls the defendant from the prior prosecution referenced in
                     the motion. Pursuant to instructions from Chief Judge James E. Shadid, this
                     matter is reassigned to U.S. District Judge Sue E. Myerscough for further
                     proceedings. (DS, ilcd) (Entered: 06/13/2018)
06/13/2018           Case as to William A Goodwill Reassigned to Judge Sue E. Myerscough. Judge
                     Colin Stirling Bruce no longer assigned to the case. (DS, ilcd) (Entered:
                     06/13/2018)
06/26/2018           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: On June 13,
                     2018, this case was reassigned to United States District Judge Sue E.
                     Myerscough due to the recusal of United States District Judge Colin S. Bruce.
                     The Final Pretrial Conference set for July 23, 2018, at 11:30 a.m. is
                     CONTINUED to Monday, July 30, 2018, at 2:00 p.m. in Courtroom I in
                     Springfield, Illinois, before United States District Judge Sue E. Myerscough.
                     The Jury Trial set for July 31, 2018, at 9:00 a.m. is CONTINUED to Tuesday,
                     August 7, 2018, at 9:00 a.m. in Courtroom I in Springfield, Illinois, before
                     United States District Judge Sue E. Myerscough. The parties shall file a motion
                     to continue or submit the following documents and motions by noon on
                     Monday, July 23, 2018: (1) witness lists, exhibit lists, and stipulations; (2) one
                     copy of proposed jury instructions that the parties have agreed upon; (3) separate
                     copies from each party of any disputed jury instructions; (4) an agreed statement
                     of the case; (5) any non−routine voir dire questions; and (6) all pretrial motions.
                     The witness lists shall be filed under seal. The parties shall bring their marked
                     exhibits to the Final Pretrial Conference. Objections to witnesses, exhibits, and
                     jury instructions, as well as responses to pretrial motions, shall be made in
                     writing, with citation to legal authority, by noon on Wednesday, July 25, 2018.
                     Entered by Judge Sue E. Myerscough on 6/26/2018. (MJC, ilcd) (Entered:
                     06/26/2018)
06/29/2018   14      NOTICE OF ATTORNEY APPEARANCE: Douglas J Quivey appearing for
                     William A Goodwill (Quivey, Douglas) (Entered: 06/29/2018)
06/29/2018   15      MOTION for Appointment of Pro Bono CJA Counsel by William A Goodwill.
                     (Quivey, Douglas) (Entered: 06/29/2018)
07/02/2018           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Before the
                     Court is a Motion for Appointment of Pro Bono CJA Counsel 15 filed by
                     Douglas J. Quivey, counsel for Defendant Goodwill. The motion requests the
                     appointment of Christopher Amero, an attorney on the CJA training panel with
                     an office close to the jail where Defendant is being detained, as pro bono
                     defense counsel in this case. The Motion for Appointment of Pro Bono CJA

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                     Counsel 15 is GRANTED. Christopher Amero is appointed as pro bono defense
                     counsel in this case. Entered by Judge Sue E. Myerscough on 7/2/2018. (MJC,
                     ilcd) (Entered: 07/02/2018)
07/24/2018   16      Consent MOTION to Continue Pretrial Conference and Trial Date by William
                     A Goodwill. (Maliza, Johanes) (Entered: 07/24/2018)
07/25/2018           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant has
                     filed an Unopposed Motion to Continue Pretrial Conference and Trial Date 16 .
                     Defense counsel needs additional time to review discovery, conduct
                     investigation, and negotiate with the Government. Defendant has conferred with
                     the Government, which has no objection to the motion. Defendant's Unopposed
                     Motion to Continue Pretrial Conference and Trial Date 16 is GRANTED. For
                     the reasons stated in the motion, the Court finds that the ends of justice served
                     by granting a continuance outweigh the best interest of the public and Defendant
                     in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The Final Pretrial Conference
                     set for July 30, 2018, at 2:00 p.m. is CONTINUED to Monday, October 29,
                     2018, at 10:00 a.m. in Courtroom I in Springfield, Illinois, before United States
                     District Judge Sue E. Myerscough. The Jury Trial set for August 7, 2018, at 9:00
                     a.m. is CONTINUED to Tuesday, November 6, 2018, at 9:00 a.m. The parties
                     shall file a motion to continue or submit the following documents and motions
                     by noon on Monday, October 22, 2018: (1) witness lists, exhibit lists, and
                     stipulations; (2) one copy of proposed jury instructions that the parties have
                     agreed upon; (3) separate copies from each party of any disputed jury
                     instructions; (4) an agreed statement of the case; (5) any non−routine voir dire
                     questions; and (6) all pretrial motions. The witness lists shall be filed under seal.
                     The parties shall bring their marked exhibits to the Final Pretrial Conference.
                     Objections to witnesses, exhibits, and jury instructions, as well as responses to
                     pretrial motions, shall be made in writing, with citation to legal authority, by
                     noon on Wednesday, October 24, 2018. Entered by Judge Sue E. Myerscough
                     on 7/25/2018. (ME, ilcd) (Entered: 07/25/2018)
09/20/2018   17      MOTION to Withdraw as Attorney by Amero, Christopher L.. by William A
                     Goodwill. (Amero, Christopher) (Entered: 09/20/2018)
09/21/2018           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Before the
                     Court is a Motion to Withdraw as Defendant's Counsel 17 filed by Christopher
                     L. Amero, counsel for Defendant Goodwill. Amero has a direct and
                     irreconcilable conflict of interest that prevents him from representing Defendant
                     Goodwill, who is also represented by the Federal Public Defender's Office. For
                     good cause shown, the Motion to Withdraw as Defendant's Counsel 17 is
                     GRANTED. Accordingly, Christopher L. Amero is granted leave to withdraw as
                     counsel for Defendant Goodwill in this case. The Clerk is DIRECTED to
                     terminate Amero as counsel for Defendant Goodwill. Entered by Judge Sue E.
                     Myerscough on 9/21/2018. (MJC, ilcd) (Entered: 09/21/2018)
09/27/2018   18      INFORMATION TO ESTABLISH PRIOR CONVICTION by USA as to
                     William A Goodwill (Finlen, Ryan) (Entered: 09/27/2018)
10/11/2018   19      Consent MOTION to Continue Trial, Final Pretrial, Pretrial Motions Deadline
                     by William A Goodwill. (Maliza, Johanes) (Entered: 10/11/2018)
10/12/2018           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant has
                     filed a Motion to Continue 19 . Defense counsel needs additional time to review


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                     discovery, conduct investigation, and negotiate with the Government. Defendant
                     has conferred with the Government, which has no objection to the motion.
                     Defendant's Motion to Continue 19 is GRANTED. For the reasons stated in the
                     motion, the Court finds that the ends of justice served by granting a continuance
                     outweigh the best interest of the public and Defendant in a speedy trial. See 18
                     U.S.C. § 3161(h)(7)(A). The Final Pretrial Conference set for October 29, 2018,
                     at 10:00 a.m. is CONTINUED to Monday, January 28, 2019, at 3:00 p.m. in
                     Courtroom I in Springfield, Illinois, before United States District Judge Sue E.
                     Myerscough. The Jury Trial set for November 6, 2018, at 9:00 a.m. is
                     CONTINUED to Tuesday, February 5, 2019, at 9:00 a.m. The parties shall file a
                     motion to continue or submit the following documents and motions by noon on
                     Friday, January 18, 2019: (1) witness lists, exhibit lists, and stipulations; (2) one
                     copy of proposed jury instructions that the parties have agreed upon; (3) separate
                     copies from each party of any disputed jury instructions; (4) an agreed statement
                     of the case; (5) any non−routine voir dire questions; and (6) all pretrial motions.
                     The witness lists shall be filed under seal. The parties shall bring their marked
                     exhibits to the Final Pretrial Conference. Objections to witnesses, exhibits, and
                     jury instructions, as well as responses to pretrial motions, shall be made in
                     writing, with citation to legal authority, by noon on Wednesday, January 23,
                     2019. Entered by Judge Sue E. Myerscough on 10/12/2018. (MAS, ilcd)
                     (Entered: 10/12/2018)
01/16/2019   20      MOTION to Continue Pretrial Conference and Trial Date by William A
                     Goodwill. (Maliza, Johanes) (Entered: 01/16/2019)
01/17/2019           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant has
                     filed an Unopposed Motion to Continue Pretrial Conference and Trial Date 20 .
                     Defense counsel intends to file a motion to suppress evidence, and the briefing
                     schedule agreed to by the parties sets March 8, 2019, as the deadline for
                     Defendant's reply in support of the suppression motion. Defendant has conferred
                     with the Government, which has no objection to the motion. Defendant's
                     Unopposed Motion to Continue Pretrial Conference and Trial Date 20 is
                     GRANTED. For the reasons stated in the motion, the Court finds that the ends
                     of justice served by granting a continuance outweigh the best interest of the
                     public and Defendant in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A). The Jury
                     Trial set for February 5, 2019, at 9:00 a.m. is CONTINUED to Tuesday, May 7,
                     2019, at 9:00 a.m. in Courtroom I in Springfield, Illinois, before United States
                     District Judge Sue E. Myerscough. The Final Pretrial Conference set for January
                     28, 2019, at 3:00 p.m. is VACATED. An Initial Pretrial Conference is scheduled
                     for Thursday, April 18, 2019, at 2:00 p.m. in Courtroom B in Urbana, Illinois,
                     before United States Magistrate Judge Eric I. Long. If the parties plan to request
                     a continuance of the trial date, a written motion for continuance stating the basis
                     for the motion shall be filed at least two days prior to the Initial Pretrial
                     Conference. The parties are directed to file a written notice with the Court as
                     soon as possible if this case is likely to go to trial so that the Court can set the
                     matter for a Final Pretrial Conference and set deadlines for pretrial filings.
                     Entered by Judge Sue E. Myerscough on 1/17/2019. (MJC, ilcd) (Entered:
                     01/17/2019)
02/12/2019   21      MOTION for Leave to File Instanter by William A Goodwill. (Maliza, Johanes)
                     (Entered: 02/12/2019)
02/12/2019   22


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                     MOTION to Suppress by William A Goodwill. (Maliza, Johanes) (Entered:
                     02/12/2019)
02/12/2019   23      STRICKEN PER 2/14/19 TEXT ORDER − MEMORANDUM of Law in
                     Support of Motion to Suppress by William A Goodwill re 22 MOTION to
                     Suppress filed by William A Goodwill (Maliza, Johanes) Modified on 2/14/2019
                     (MJC, ilcd). (Entered: 02/12/2019)
02/12/2019   24      MOTION to Strike Docket Entry 23 by William A Goodwill. (Maliza, Johanes)
                     (Entered: 02/12/2019)
02/12/2019   25      MEMORANDUM of Law in Support of Motion to Suppress by William A
                     Goodwill re 22 MOTION to Suppress filed by William A Goodwill (Maliza,
                     Johanes) (Entered: 02/12/2019)
02/13/2019           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant's
                     Motion for Leave to File Instanter 21 is GRANTED. The Government is
                     DIRECTED to file a response to Defendant's Motion to Suppress 22 by
                     Tuesday, March 5, 2019. Defendant's reply in support of the suppression motion
                     shall be filed by Tuesday, March 12, 2019. Entered by Judge Sue E.
                     Myerscough on 2/13/2019. (MJC, ilcd) (Entered: 02/13/2019)
02/14/2019           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant's
                     Motion to Strike 24 is GRANTED. Accordingly, the Court STRIKES
                     Defendant's Memorandum of Law 23 . The Court will consider Defendant's
                     Memorandum of Law in Support of Motion to Suppress 25 in ruling on
                     Defendant's Motion to Suppress 22 . Entered by Judge Sue E. Myerscough on
                     2/14/2019. (MJC, ilcd) (Entered: 02/14/2019)
03/04/2019   26      RESPONSE to Motion by USA as to William A Goodwill re 22 MOTION to
                     Suppress (Attachments: # 1 Exhibit)(Finlen, Ryan) (Entered: 03/04/2019)
04/13/2019   27      Consent MOTION to Continue Motions Deadline, Pretrial, and Trial by
                     William A Goodwill. (Maliza, Johanes) (Entered: 04/13/2019)
04/15/2019           TEXT ORDER entered by Magistrate Judge Eric I. Long on 4/15/2019.
                     Defendant has filed an Unopposed Motion to Continue Trial Date and Pretrial
                     Conference and to Extend Motion Filing Deadline 27 . Defense counsel
                     indicates that the defense needs additional time to review and review discovery,
                     conduct investigation, and negotiate with the Government. Defense counsel has
                     conferred with the Government, which has no objection to the motion.
                     Defendant's Unopposed Motion to Continue Trial Date and Pretrial Conference
                     and to Extend Motion Filing Deadline 27 is GRANTED. The Jury Trial set for
                     May 7, 2019 is CONTINUED to July 9, 2019, at 9:00 a.m. in Courtroom I in
                     Springfield, Illinois, before United States District Judge Sue E. Myerscough.
                     The Pretrial Conference set for April 18, 2019 a.m. is VACATED. An Initial
                     Pretrial Conference is scheduled for June 21, 2019 at 2:15 PM, in Courtroom B
                     in Urbana, Illinois, before United States Magistrate Judge Eric I. Long. For the
                     reasons stated in the motion, the Court finds that the ends of justice served by
                     granting a continuance outweigh the best interest of the public and Defendant in
                     a speedy trial. See 18 U.S.C. 3161(h)(7)(A). In particular, the Court finds that
                     failure to grant such a continuance would deprive counsel for the Defendant the
                     reasonable time necessary for effective preparation for trial and to negotiate a
                     potential resolution of this case with the Government, taking into account the
                     exercise of due diligence. Time excluded from May 7, 2019, to July 9, 2019. If

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                     the parties plan to request a continuance of the trial date, a written motion for
                     continuance stating the basis for the motion shall be filed at least two days prior
                     to the Initial Pretrial Conference. The parties are directed to file a written notice
                     with the Court as soon as possible if this case is likely to go to trial so that the
                     Court can set the matter for a Final Pretrial Conference and set deadlines for
                     pretrial filings. (DS, ilcd) (Entered: 04/15/2019)
04/23/2019           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: The Court
                     hereby schedules an evidentiary hearing on Defendant's Motion to Suppress 22
                     for Wednesday, May 15, 2019, at 10:00 a.m. in Courtroom I in Springfield,
                     Illinois. Defendant shall be physically present at the hearing. Entered by Judge
                     Sue E. Myerscough on 4/23/2019. (GL, ilcd) (Entered: 04/23/2019)
05/15/2019           Attorney update in case as to William A Goodwill. Attorney Douglas J Quivey
                     terminated by Court at Evidentiary Hearing. (DM, ilcd) (Entered: 05/15/2019)
05/15/2019           Minute Entry for proceedings held before Judge Sue E. Myerscough:
                     EVIDENTIARY HEARING as to Defendant William A. Goodwill held on
                     5/15/2019. AUSA Ryan Finlen present on behalf of Government. Defendant
                     present in custody with AFPD Johanes Maliza. Court sua sponte terminated
                     Attorney Douglas Quivey from case. Witnesses called, sworn and questioned.
                     Evidence marked and admitted. Request for written briefing allowed. Parties to
                     file simultaneous briefs by 5:00 P.M. on May 29, 2019. Reply briefs to be filed
                     by June 5, 2019. Defendant remanded to the custody of the U.S. Marshal.
                     Hearing adjourned. (Court Reporter LC (Urbana).) (DM, ilcd) (Entered:
                     05/15/2019)
05/15/2019   28      EXHIBIT and WITNESS LIST as to Defendant William A Goodwill−−Marked
                     by Court at Evidentiary Hearing. (DM, ilcd) (Entered: 05/15/2019)
05/22/2019   29      MOTION for Extension of Time to File Post Hearing Briefs by William A
                     Goodwill. (Maliza, Johanes) (Entered: 05/22/2019)
05/23/2019           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant's
                     Unopposed Motion to Extend Post−Hearing Briefing Schedule 29 is
                     GRANTED. The deadline for the parties' post−hearing briefs on Defendants
                     Motion to Suppress 22 is extended to 5:00 p.m. on Wednesday, June 5, 2019.
                     The deadline for the parties' responses to post−hearing briefs is extended to 5:00
                     p.m. on Wednesday, June 12, 2019. Entered by Judge Sue E. Myerscough on
                     5/22/2019. (MAS, ilcd) (Entered: 05/23/2019)
05/23/2019   30      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings (Motion to
                     Suppress Hearing) as to William A Goodwill held on May 15, 2019, before
                     Judge Sue E. Myerscough. Court Reporter/Transcriber LKC, Telephone number
                     (217) 355−4227. Transcript purchased by: Ryan Finlen and Johanes C. Maliza.

                     IMPORTANT: The parties have seven (7) business days to file with the
                     Court a Notice of Intent to Request Redaction of this transcript. Within 21
                     days of the filing of the transcript, a Motion of Requested Redactions shall
                     be e−filed with the Court. Access to this motion will be restricted to the
                     Court and the attorneys of record in the case. If no such Notice and Motion
                     are filed, the transcript may be made remotely, electronically available to
                     the public, without redaction, 90 days from the date initially filed. Any
                     party needing a copy of the transcript to review for redaction purposes may


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                     view the transcript at the Clerk's Office public terminal or contact the
                     Court Reporter for purchase. Counsel are strongly urged to share this
                     notice with all clients so that an informed decision about the inclusion of
                     certain materials may be made. The responsibility for redacting these
                     personal identifiers rests solely with counsel and the parties. The Clerk and
                     Court Reporter will not review each transcript for compliance with this
                     rule.

                     Transcript may be viewed at the court public terminal or purchased through the
                     Court Reporter/Transcriber before the deadline for Release of Transcript
                     Restriction. After that date it may be obtained through PACER. Redaction
                     Request due 6/13/2019. Redacted Transcript Deadline set for 6/24/2019. Release
                     of Transcript Restriction set for 8/21/2019. (MAS, ilcd) (Entered: 05/28/2019)
06/03/2019   31      BRIEF in Opposition to Defendant's Motion to Suppress by USA as to William
                     A Goodwill (Finlen, Ryan) (Entered: 06/03/2019)
06/04/2019   32      MEMORANDUM in Support of Motion to Suppress Evidence by William A
                     Goodwill re 25 Memorandum filed by William A Goodwill (Attachments: # 1
                     Exhibit a, # 2 Exhibit b, # 3 Exhibit c)(Maliza, Johanes) (Entered: 06/04/2019)
06/12/2019   33      BRIEF in Opposition to Defendant's Motion to Suppress by USA as to William
                     A Goodwill re 22 MOTION to Suppress filed by William A Goodwill, 32
                     Memorandum filed by William A Goodwill (Finlen, Ryan) (Entered:
                     06/12/2019)
06/14/2019           TEXT ORDER entered by Magistrate Judge Eric I. Long on 6/14/2019. Due to
                     the conflict in the Court's schedule, the Pretrial Conference set for June 21,
                     2019, at 2:15 P.M. is RESCHEDULED to June 20, 2019, at 2:15 P.M. in
                     Courtroom B in Urbana before Magistrate Judge Eric I. Long. (DS, ilcd)
                     (Entered: 06/14/2019)
06/15/2019   34      Consent MOTION to Continue Motions Deadline, Pretrial, and Trial by
                     William A Goodwill. (Maliza, Johanes) (Entered: 06/15/2019)
06/18/2019           TEXT ORDER entered by Magistrate Judge Eric I. Long on 6/18/2019.
                     Defendant has filed a Motion to Continue Trial Date and Pretrial Conference
                     and to Extend Motion Filing Deadline 34 . Defense counsel indicates that the
                     defense needs additional time to review and review discovery, conduct
                     investigation, and negotiate with the Government. Defense counsel has
                     conferred with the Government, which has no objection to the motion.
                     Defendant's Motion to Continue Trial Date and Pretrial Conference and to
                     Extend Motion Filing Deadline 34 is GRANTED. The Jury Trial set for July 9,
                     2019, at 9:00 a.m. is CONTINUED to September 10, 2019, at 9:00 a.m. in
                     Courtroom I in Springfield, Illinois, before United States District Judge Sue E.
                     Myerscough. The Pretrial Conference set for June 20, 2019, is VACATED. An
                     Initial Pretrial Conference is scheduled for August 21, 2019, at 2:45 p.m. in
                     Courtroom B in Urbana, Illinois, before United States Magistrate Judge Eric I.
                     Long. For the reasons stated in the motion, the Court finds that the ends of
                     justice served by granting a continuance outweigh the best interest of the public
                     and Defendant in a speedy trial. See 18 U.S.C. 3161(h)(7)(A). In particular, the
                     Court finds that failure to grant such a continuance would deprive counsel for
                     the Defendant the reasonable time necessary for effective preparation for trial
                     and to negotiate a potential resolution of this case with the Government, taking

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                     into account the exercise of due diligence. Time excluded from the entry of this
                     order to September 10, 2019. If the parties plan to request a continuance of the
                     trial date, a written motion for continuance stating the basis for the motion shall
                     be filed at least two days prior to the Initial Pretrial Conference. The parties are
                     directed to file a written notice with the Court as soon as possible if this case is
                     likely to go to trial so that the Court can set the matter for a Final Pretrial
                     Conference and set deadlines for pretrial filings. (DS, ilcd) Modified on
                     6/18/2019 to show correct jury trial date (DS, ilcd). (Entered: 06/18/2019)
08/21/2019           Minute Entry for proceedings held 8/21/2019 before Magistrate Judge Eric I.
                     Long. Appearance for the Government by AUSA Rachel Ritzer. Defendant
                     WILLIAM A GOODWILL present in person and with appointed counsel,
                     AFPD Johanes Maliza. Final Pretrial Conference not held. Status Conference
                     held. Final Pretrial and Jury Trial are vacated. Pretrial Conference is reset for
                     10/7/2019 at 2:00 PM in Courtroom B in Urbana before Magistrate Judge Eric I.
                     Long. Jury Selection/Jury Trial is reset for 11/5/2019 at 9:00 AM in Courtroom
                     1 in Springfield before Judge Sue E. Myerscough. The Court finds that the ends
                     of justice have been met pursuant to 18 U.S.C. 3161(h)(7)(A). Time is excluded
                     from 8/21/2019 to 11/5/2019. Defendant is remanded to the custody of the US
                     Marshal. (Tape #UR−B 3:03 PM.) (DS, ilcd) (Entered: 08/21/2019)
08/26/2019   35      NOTICE of Supplemental Authority by USA as to William A Goodwill
                     (Attachments: # 1 Exhibit)(Finlen, Ryan) (Entered: 08/26/2019)
08/30/2019           TEXT ORDER REASSIGNING CASE: Effective 9/1/2019 this case is
                     reassigned to Judge Michael M. Mihm for further proceedings. Status
                     Conference set for 9/9/2019 at 11:00AM in Courtroom A in Urbana before
                     Judge Michael M. Mihm. Entered by Chief Judge Sara Darrow on 8/30/2019.
                     (MC, ilcd) (Entered: 08/30/2019)
09/04/2019           TEXT ONLY ORDER as to William A Goodwill: The status conference
                     scheduled on 9/9/2019 at 11:00 AM is VACATED. Entered by Judge Michael
                     M. Mihm on 9/4/2019. (MNS, ilcd) (Entered: 09/04/2019)
09/27/2019   36      MOTION to Continue (Unopposed) by William A Goodwill. (Attachments: # 1
                     Exhibit A)(Maliza, Johanes) (Entered: 09/27/2019)
09/30/2019           TEXT ORDER entered by Magistrate Judge Eric I. Long on 9/30/2019. The
                     Court, after considering the unopposed Motion to Continue Pretrial Hearing 36
                     pursuant to 18 U.S.C. 3161(h)(7)(A), and considering the factors pursuant to 18
                     U.S.C. 3161(h)(7)(B), grants the Motion and Continues the matter of USA v.
                     Goodwill for Pretrial Conference to December 11, 2019, at 11:15 AM, in
                     Courtroom B in Urbana before Magistrate Judge Eric I. Long and Jury Trial to
                     December 16, 2019, at 8:45 AM in person in Courtroom A in Urbana before
                     United States District Judge Mihm. Based on the Unopposed Motion the Court
                     finds the failure to grant a continuance would deny counsel for the defendant
                     reasonable time for effective preparation and sufficient opportunity to negotiate
                     a possible resolution with the government, taking into account the exercise of
                     due diligence. Therefore, the Court finds the ends of justice served by taking
                     such action outweigh the best interest of the public and defendant in a speedy
                     trial and the time between the entry of this order and December 16, 2019, is
                     excludable pursuant to the Speedy Trial Act. The Jury Trial set for November 5,
                     2019, is vacated. (DS, ilcd) (Entered: 09/30/2019)



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10/23/2019           TEXT ORDER REASSIGNING CASE: Entered by Chief Judge Sara Darrow
                     on 10/23/2019. This case reassigned to Judge Sue E. Myerscough for further
                     proceedings. (LN, ilcd) (Entered: 10/23/2019)
11/08/2019           TEXT ORDER entered by Magistrate Judge Eric I. Long on 11/8/2019. The
                     Final Pretrial Conference is RESCHEDULED to 12/2/19 at 2:15 PM, before
                     Judge Long, Courtroom B, Urbana. The Jury Trial is RESCHEDULED to
                     12/3/19 at 9:00 AM, before Judge Myerscough, Courtroom I, Springfield. (DS,
                     ilcd) (Entered: 11/08/2019)
12/02/2019           ORAL MOTION to Continue by USA as to William A Goodwill. (DS, ilcd)
                     (Entered: 12/02/2019)
12/02/2019           Minute Entry for proceedings held 12/2/2019 before Magistrate Judge Eric I.
                     Long. Appearance for the Government by AUSA Ryan Finlen. Defendant
                     WILLIAM A GOODWILL present in person and with appointed counsel,
                     AFPD Elisabeth Pollock. Final Pretrial Conference not held; Status Conference
                     held. Status of case discussed. Oral Motion by defendant to continue pending a
                     ruling on the motion to suppress; granted. The pretrial conference this date and
                     jury trial set for 12/16/19 are vacated. Pretrial Conference is reset for 1/17/2020
                     at 1:45 PM in Courtroom B in Urbana before Magistrate Judge Eric I. Long.
                     Jury Selection/Jury Trial is reset for 2/4/2020 at 9:00 AM in Courtroom 1 in
                     Springfield before Judge Sue E. Myerscough. Defendant is remanded to the
                     custody of the US Marshal. (Tape #UR−B 1:56 PM.) (DS, ilcd) Modified on
                     12/2/2019 to correct oral motion (SKR, ilcd). (Entered: 12/02/2019)
01/03/2020   37      OPINION: Defendant William A. Goodwill's Motion to Suppress (d/e 22 ) is
                     DENIED. (SEE WRITTEN OPINION.) Entered by Judge Sue E. Myerscough
                     on 1/3/2020. (GL, ilcd) (Entered: 01/06/2020)
01/16/2020   38      MOTION to Continue by William A Goodwill. (Attachments: # 1 Defendant's
                     Consent)(Maliza, Johanes) (Entered: 01/16/2020)
01/16/2020           TEXT ORDER entered by Magistrate Judge Eric I. Long on 1/16/2020. The
                     Court, after considering the unopposed Motion to Continue 38 pursuant to 18
                     U.S.C. 3161(h)(7)(A), and considering the factors pursuant to 18 U.S.C.
                     3161(h)(7)(B), grants the Motion and Continues the matter of USA v. Goodwill
                     for Pretrial Conference to February 14, 2020, at 2:00 PM, in Courtroom B in
                     Urbana before Magistrate Judge Eric I. Long and Jury Trial to February 24,
                     2020, at 8:45 AM, in person in Courtroom A in Urbana before United States
                     District Judge Mihm. Based on the Unopposed Motion the Court finds the
                     failure to grant a continuance would deny counsel for the defendant reasonable
                     time for effective preparation and sufficient opportunity to negotiate a possible
                     resolution with the government, taking into account the exercise of due
                     diligence. Therefore, the Court finds the ends of justice served by taking such
                     action outweigh the best interest of the public and defendant in a speedy trial
                     and the time between the entry of this order and February 24, 2020, is
                     excludable pursuant to the Speedy Trial Act. The Jury Trial set for February 4,
                     2020, is vacated. The pretrial conference set for January 17, 2020 is
                     RESCHEDULED to February 14, 2020, at 2:00 PM. A Change of Plea Hearing
                     is set for January 28, 2020, at 2:30 PM, in Courtroom B in Urbana before
                     Magistrate Judge Eric I. Long. (DS, ilcd) (Entered: 01/16/2020)
01/16/2020


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                     TEXT ORDER entered by Magistrate Judge Eric I. Long on 1/16/2020. The
                     Jury Trial is RESCHEDULED to February 18, 2020, at 9:00 AM, before Judge
                     Myerscough, Courtroom 1 in Springfield. (DS, ilcd) (Entered: 01/16/2020)
01/22/2020   39      SUPERSEDING INDICTMENT as to William A Goodwill (1) count 1s with
                     Special Findings. (DS, ilcd) Modified on 1/24/2020 (KM, ilcd). (Entered:
                     01/23/2020)
01/22/2020   40      +++ SEALED DOCUMENT − ORIGINAL DOCUMENT SUPERSEDING
                     INDICTMENT UNREDACTED (DS, ilcd) (Entered: 01/23/2020)
01/22/2020   41      +++ SEALED DOCUMENT − DEFENDANT INFORMATION SHEET.
                     (DS, ilcd) (Entered: 01/23/2020)
01/23/2020   42      INFORMATION TO ESTABLISH PRIOR CONVICTION by USA as to
                     William A Goodwill (Finlen, Ryan) (Entered: 01/23/2020)
01/23/2020           TEXT ORDER entered by Magistrate Judge Eric I. Long on 1/23/2020. An
                     Arraignment on the Superseding Indictment is set for 1/28/2020 at 2:30 PM in
                     Courtroom B in Urbana before Magistrate Judge Eric I. Long. (DS, ilcd)
                     (Entered: 01/23/2020)
01/28/2020   43      Notice Regarding Entry of Plea and Signed Consent as to William A Goodwill
                     (JMB, ilcd) (Entered: 01/28/2020)
01/28/2020   44      +++ SEALED DOCUMENT − ORIGINAL DOCUMENT Notice Re Entry
                     of Plea UNREDACTED (JMB, ilcd) (Entered: 01/28/2020)
01/28/2020   45      NOTICE of Conditional Plea by William A Goodwill (JMB, ilcd) (Entered:
                     01/28/2020)
01/28/2020   46      +++ SEALED DOCUMENT − ORIGINAL DOCUMENT Notice of
                     Conditional Plea UNREDACTED (JMB, ilcd) (Entered: 01/28/2020)
01/28/2020           ORAL MOTION for Prior Presentence Investigation Report by William A
                     Goodwill. (JMB, ilcd) (Entered: 01/28/2020)
01/28/2020           Minute Entry for proceedings held on 1/28/2020 before Magistrate Judge Eric I.
                     Long. Appearance for the Government by AUSA Ryan Finlen. Defendant
                     WILLIAM A. GOODWILL present in person and with counsel AFPD Elisabeth
                     Pollock. Arraignment as to William A Goodwill (1) Count 1s held. Defendant
                     sworn; advised of charges and possible penalties. Defendant pleaded not guilty
                     to Superseding Indictment. Change of Plea Hearing as to William A Goodwill
                     held. Notice and consent to plead before Magistrate Judge filed. Notice of
                     Conditional Plea filed. Defendant previously sworn; found competent to enter
                     plea. Defendant advised of rights, charges and possible penalties. Guilty plea
                     entered by defendant to Count 1 of Indictment. Court finds guilty plea knowing
                     and voluntary. Report and recommendation to be entered recommending the
                     District Judge enter judgment on plea of guilty as to Count 1. Pretrial hearing set
                     for 2/14/2020 and jury trial set for 2/18/2020 are VACATED. Sentencing set for
                     6/1/2020 at 11:00 AM in Courtroom 1 in Springfield before Judge Sue E.
                     Myerscough. Cause referred to US Probation for a presentence investigation
                     report. Oral motion by Defendant to request prior presentence report; no
                     objection by the Government. Oral motion granted. Defendant is remanded to
                     the custody of the US Marshal. (Tape #UR−B: 2:43PM.) (JMB, ilcd) Modified
                     on 1/29/2020 to show that conditional plea is also filed. (JMB, ilcd) (Entered:

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                     01/28/2020)
01/29/2020   47      REPORT AND RECOMMENDATIONS on Plea of Guilty as to William A
                     Goodwill entered by Magistrate Judge Eric I. Long on 1/29/2020. Objections to
                     R&R due by 2/12/2020. (JMB, ilcd) (Entered: 01/29/2020)
01/29/2020   48      ORDER on Implementation of Sentencing Guidelines as to William A Goodwill
                     entered by Magistrate Judge Eric I. Long on 1/29/2020. See written order. (JMB,
                     ilcd) (Entered: 01/29/2020)
01/29/2020   49      + +PRESENTENCE INVESTIGATION REPORT from Case No.
                     03−20104−001 as to William A Goodwill (Merritt, Melissa) (Entered:
                     01/29/2020)
02/13/2020           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Pursuant to
                     the Report and Recommendation Concerning Plea of Guilty 47 entered by
                     United States Magistrate Judge Eric I. Long on January 29, 2020, to which there
                     has been no timely objection, the Court hereby ACCEPTS Defendant William
                     A. Goodwill's plea of guilty to Count 1 of the Superseding Indictment 39 .
                     Defendant Goodwill is adjudged guilty of this offense. The sentencing hearing
                     for Defendant Goodwill remains set for June 1, 2020, at 11:00 a.m. in
                     Courtroom I in Springfield, Illinois, before United States District Judge Sue E.
                     Myerscough. Entered by Judge Sue E. Myerscough on 2/13/2020. (MJC, ilcd)
                     (Entered: 02/13/2020)
04/06/2020   50      MOTION for Reconsideration of Detention Orders by William A Goodwill.
                     (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Maliza, Johanes) (Entered:
                     04/06/2020)
04/06/2020   51      MOTION for Leave to File Under Seal by William A Goodwill. (Maliza,
                     Johanes) (Entered: 04/06/2020)
04/06/2020   52      +++ SEALED DOCUMENT. (Attachments: # 1 Exhibit A, # 2 Exhibit
                     B)(Maliza, Johanes) (Entered: 04/06/2020)
04/07/2020           TEXT ORDER as to William A Goodwill: The Court directs the government to
                     respond to the Motion for Pretrial Release 50 within 24 hours of the entry of this
                     order. Entered by Magistrate Judge Eric I. Long on 4/7/20. (MJZ, ilcd) (Entered:
                     04/07/2020)
04/07/2020   53      TEXT ORDER by Magistrate Judge Jonathan E. Hawley as to William A
                     Goodwill (1): Motion Hearing re 50 MOTION for Reconsideration of Detention
                     Orders is set for 4/14/2020 at 2:45 PM by video conference from Peoria (court
                     to initiate conference) before Magistrate Judge Jonathan E. Hawley. The Court
                     directs the Clerk to issue a video writ for Defendant's participation. Counsel for
                     the government and Defendant should also appear by video and are expected to
                     appear in professional attire. Instructions for the video conference are attached
                     for the attorneys. Additionally, the 51 Motion for Leave to File is granted and 52
                     shall remain sealed. Entered on 4/7/20. (WG, ilcd) (Entered: 04/07/2020)
04/07/2020   54      NOTICE of Controlling Authority by William A Goodwill (Maliza, Johanes)
                     (Entered: 04/07/2020)
04/07/2020   55      RESPONSE to Motion by USA as to William A Goodwill re 50 MOTION for
                     Reconsideration of Detention Orders and Request to Vacate the April 14, 2020,
                     Hearing as Unnecessary for the Reasons Stated Herein. (Finlen, Ryan)

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                     (Entered: 04/07/2020)
04/08/2020   56      VACATED. VIDEO WRIT issued for Defendant for Motion Hearing on
                     4/14/20 at 2:45 PM. (emailed to USM) (DS, ilcd) Modified on 4/8/2020 Motion
                     hearing vacated (KM, ilcd). (Entered: 04/08/2020)
04/08/2020           TEXT ORDER by Magistrate Judge Jonathan E. Hawley denying 50 Defendants
                     motions for reconsideration of Detention Orders. As both the Defendant and the
                     Government acknowledge, the Defendants release or detention is governed by
                     18 USC 3143(a)(2)(ii), which addresses the release or detention of a defendant
                     pending sentencing. Because the Defendant cannot establish the precondition for
                     release set forth in the statute cited herein, the Court cannot release the
                     Defendant. Accordingly, the Defendants motions are denied and the hearing set
                     4/14/2020 on the motion is vacated. Entered on 4/8/20. (WG, ilcd) (Entered:
                     04/08/2020)
04/23/2020   57      + +INITIAL PRESENTENCE INVESTIGATION REPORT as to William
                     A Goodwill (Brown, Thomas) (Entered: 04/23/2020)
04/24/2020   58      MOTION to Continue Sentencing Hearing (Unopposed) by William A
                     Goodwill. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Maliza,
                     Johanes) (Entered: 04/24/2020)
04/27/2020           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant
                     William A. Goodwill has filed a Motion to Continue 58 . Defendant is
                     contesting that one of his prior drug convictions can be used to classify him as a
                     career offender under the United States Sentencing Guidelines. Two cases
                     addressing the same argument that Defendant is making in this case are pending
                     in the Seventh Circuit. Judicial resources will be conserved if Defendant's
                     sentencing hearing takes place after the Seventh Circuit renders a decision in
                     one of those cases. Defense counsel has conferred with the Government, which
                     has no objection to the motion. Defendant's Motion to Continue 58 is
                     GRANTED. The sentencing hearing for Defendant Goodwill scheduled for June
                     1, 2020, at 11:00 a.m. is accordingly CONTINUED to Friday, December 4,
                     2020, at 11:00 a.m. in Courtroom I in Springfield, Illinois, before United States
                     District Judge Sue E. Myerscough. The Court finds that this continuance will not
                     cause "unnecessary delay" or result in unfair prejudice to Defendant Goodwill
                     under Rule 32(b)(1) of the Federal Rules of Criminal Procedure. Entered by
                     Judge Sue E. Myerscough on 4/27/2020. (MJC, ilcd) (Entered: 04/27/2020)
08/06/2020   59      MOTION to Reset Revocation and Sentencing (Unopposed) by William A
                     Goodwill. (Maliza, Johanes) (Entered: 08/06/2020)
08/07/2020           TEXT ORDER as to DEFENDANT WILLIAM A. GOODWILL: Defendant
                     William A. Goodwill's Motion to Reset Revocation and Sentencing 59 , to
                     which the Government does not object, is GRANTED. The sentencing hearing
                     for Defendant Goodwill scheduled for December 4, 2020, at 11:00 a.m. is
                     VACATED and RESET to Friday, September 25, 2020, at 10:00 a.m. in
                     Courtroom I in Springfield, Illinois, before United States District Judge Sue E.
                     Myerscough. Entered by Judge Sue E. Myerscough on 8/7/2020. (MJC, ilcd)
                     (Entered: 08/07/2020)
09/15/2020   60      MOTION to Continue Sentencing until After October 16, 2020, by USA as to
                     William A Goodwill. (Finlen, Ryan) (Entered: 09/15/2020)


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09/16/2020   61      RESPONSE to Motion by William A Goodwill re 60 MOTION to Continue
                     Sentencing until After October 16, 2020, (Opposition) (Maliza, Johanes)
                     (Entered: 09/16/2020)
09/18/2020   62      TEXT ORDER as to DEFENDANT WILLIAM GOODWILL: Before the Court
                     is the Government's Motion to Continue the September 25, 2020 Sentencing and
                     Revocation Hearing 60 , which Defendant opposes 61 . The Court hereby SETS
                     a video hearing on the Government's Motion to Continue 60 for Friday,
                     September 18, 2020, at 1:30 p.m. All participants shall attend the hearing via
                     video conferencing, except that Defendant may attend the hearing via telephone
                     if video conferencing is not available. If necessary, the Clerk shall issue a writ
                     for Defendant's attendance at the hearing. Instructions for the video conference
                     are attached. Entered by Judge Sue E. Myerscough on 9/18/2020. (MJC, ilcd)
                     (Entered: 09/18/2020)
09/18/2020   63      + + REVISED PRESENTENCE INVESTIGATION REPORT as to William
                     A Goodwill (Brown, Thomas) (Entered: 09/18/2020)
09/18/2020   64      +++ SENTENCING RECOMMENDATION as to William A Goodwill.
                     (Brown, Thomas) (Entered: 09/18/2020)
09/18/2020           Minute Entry for proceedings held before Judge Sue E. Myerscough: MOTION
                     HEARING re Motion to Continue Final Revocation and Sentencing 60 as to
                     Defendant William A. Goodwill held on 9/18/2020. AUSA Ryan Finlen present
                     via video on behalf of Government. Defendant present via video from a
                     detention facility. AFPD Johanes Maliza present via video on behalf of
                     Defendant. Discussion held as to Government caseload with clarification given.
                     Position of AFPD Maliza given. By agreement of parties, previously scheduled
                     hearings will be conducted by video on Friday, September 25, 2020 at 10:00
                     AM before Judge Sue E. Myerscough. Written consent to be filed of record.
                     Court adjourned. (Court Reporter KS.) (DM, ilcd) (Entered: 09/18/2020)
09/18/2020   65      VIDEO WRIT issued for William Goodwill Sentencing Hearing set for
                     9/25/2020 at 10am before Judge Sue E. Myerscough in Springfield. Writ
                     forwarded to USMS per instructions. (SKN, ilcd) (Entered: 09/18/2020)
09/18/2020   66      Consent MOTION for Hearing via Video (Sentencing) by William A Goodwill.
                     (Maliza, Johanes) (Entered: 09/18/2020)
09/22/2020   67      + + COURTS PROPOSED CONDITIONS as to William A Goodwill. (MJC,
                     ilcd) (Entered: 09/22/2020)
09/22/2020   68      MOTION to Withdraw as Attorney by Johanes C. Maliza. by William A
                     Goodwill. (Maliza, Johanes) (Entered: 09/22/2020)
09/23/2020   69      TEXT ORDER: Before the Court is Defendant's Motion for Video Sentencing
                     66 . Defendant consents to his Sentencing Hearing being by video, beginning
                     immediately after the conclusion of Defendant's Final Revocation Hearing in
                     Case No. 03−cr−20104, scheduled to take place by video conference on
                     September 25, 2020, at 10:00 a.m. The Government does not object. The Court
                     finds that holding the hearing by video conference will avoid unnecessary delay
                     and prevent harm to the interests of justice by ensuring the effective
                     administration of justice, preserving valuable court resources, and providing the
                     defendant, the court, and the public with finality of judgment. The Court also
                     finds that delaying Defendant Goodwill's guilty plea could impact, to


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                     Defendant's detriment, his eligibility for educational, vocational, or drug
                     treatment programming or any credit for time served that the Bureau of Prisons
                     applies to any term of imprisonment imposed by the Court. Additionally, the
                     Court finds that holding the hearings by video will ensure the continued
                     protection of the community by preventing the spread of COVID−19. The Court
                     hereby GRANTS the Motion for Video Sentencing 66 . The Court DENIES AS
                     MOOT the Government's Motion to Continue 60 . The Court hereby modifies
                     Defendant's Sentencing Hearing in that the hearing will be conducted by video
                     conferencing. All other details relating to the hearings remain the same. All
                     participants, including Defendant Goodwill, shall attend the hearing via video
                     conferencing. Instructions for the video conference are attached. Entered by
                     Judge Sue E. Myerscough on 9/22/2020. (MJC, ilcd) (Entered: 09/23/2020)
09/23/2020   70      +++ SEALED COMMENTARIES ON SENTENCING FACTORS by
                     William A Goodwill. (Attachments: # 1 Exhibit Character Letters, # 2 Exhibit
                     Mitigation Report)(Maliza, Johanes) (Entered: 09/23/2020)
09/23/2020           TEXT ORDER as to DEFENDANT GOODWILL: Before the Court is a Motion
                     to Withdraw as Counsel 68 filed by Assistant Federal Public Defender Johanes
                     Maliza, counsel for Defendant William Goodwill. The Federal Public Defender's
                     Office has a direct and irreconcilable conflict of interest that precludes its
                     continued representation of Defendant Wooden in this case. For good cause
                     shown, the Motion to Withdraw as Counsel 68 is GRANTED. Accordingly,
                     AFPD Maliza is granted leave to withdraw as counsel for Defendant Goodwill
                     in this case. The Clerk is DIRECTED to terminate AFPD Maliza as counsel for
                     Defendant Goodwill. The Court appoints William Vig, of Vig Law, P.C.,
                     Springfield, Illinois, as counsel for Defendant Goodwill under the Criminal
                     Justice Act. Given AFPD Maliza's withdrawal as defense counsel, and the
                     scheduling conflicts outlined in the Government's Motion to Continue
                     Sentencing 60 , the Final Revocation and Sentencing hearings set for September
                     25, 2020, at 10:00 a.m. are CONTINUED to Monday, October 26, 2020 at 1:30
                     p.m. Entered by Judge Sue E. Myerscough on 9/23/2020. (MJC, ilcd) (Entered:
                     09/23/2020)
10/25/2020   72      +++ SEALED DOCUMENT. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
                     Exhibit C, # 4 Exhibit D, # 5 Exhibit E)(Vig, William) (Entered: 10/25/2020)
10/25/2020   73      MEMORANDUM of Law Concerning the Definition of U.S.S.G. § 4B1.2(b) and
                     the Existing Circuit Split by William A Goodwill (Vig, William) (Entered:
                     10/25/2020)
10/26/2020   74      VIDEO WRIT issued for Defendant Goodwill's video participation at the
                     Sentencing Hearing set on 10/26/2020 at 1:30 PM before Judge Sue E.
                     Myerscough. (Copy emailed to USM) (DM, ilcd) (Entered: 10/26/2020)
10/26/2020   75      Character Letter from Renee Goodwill (Vig, William) (Entered: 10/26/2020)
10/26/2020   76      Character Letter from Stephanette Bond (Vig, William) (Entered: 10/26/2020)
10/26/2020           Minute Entry for proceedings held before Judge Sue E. Myerscough:
                     SENTENCING HEARING held on 10/26/2020 as to Defendant William A.
                     Goodwill. AUSA Ryan Finlen present via video on behalf of Government.
                     Defendant present via video from a detention facility. Attorney William Vig
                     present via video on behalf of Defendant. Court and court personnel present via
                     video and audio. Acknowledgment made by Defendant as to video appearance

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                      and waiver of his right to physical appearance. Defendant advised of procedural
                      rights, right to speak with counsel/Court and public access. Court found waiver
                      knowing and voluntary. Objection to the Revised PSR acknowledged with
                      arguments of counsel stated. Objection overruled. Defendant acknowledged and
                      affirmed prior conviction. Without further objection, Court adopted the factual
                      findings of the Revised PSR. Defendant stated he met with his counsel for
                      review of Court's proposed discretionary Supervised Release conditions and had
                      initialed and signed same. Notice by Court taken as to character letters filed on
                      behalf of Defendant. Arguments of counsel made as to imposition of sentence.
                      Defendant exercised his right of allocution and addressed the Court. Court noted
                      that the Guidelines were advisory and not mandatory. Defendant sentenced to
                      120 months imprisonment to run concurrently to any sentence imposed in U.S.
                      District Court, CDIL Case No. 03−20104−001; 8 year term of supervised release
                      imposed; and $100 special assessment. Mandatory conditions read of record.
                      Court imposed its discretionary conditions of Supervised Release and
                      justifications therein. Oral waiver by parties as to the reading of same in open
                      court. Court proceeded to the Final Revocation Hearing in Case No. 03−20104.
                      Rights of Appeal given. Defendant remanded to the custody of the U.S.
                      Marshals. Hearing adjourned. (Court Reporter KS.) (DM, ilcd) (Entered:
                      10/27/2020)
10/27/2020            Notice of Docket Modification re 71 Sentencing Memorandum: Document
                      sealed as Sentencing Commentaries are to be filed under seal. (MJC, ilcd)
                      (Entered: 10/27/2020)
10/30/2020   77   25 JUDGMENT as to William A Goodwill: Defendant sentenced to 120 months
                     imprisonment to run concurrently to any sentence imposed in U.S. District
                     Court, CDIL Case No. 03−20104−001; 8 year term of supervised release
                     imposed; and $100 special assessment. Entered by Judge Sue E. Myerscough on
                     10/30/2020. (DM, ilcd) (Entered: 10/30/2020)
10/30/2020   78       +++ SEALED DOCUMENT − ORIGINAL
                      DOCUMENT−−JUDGMENT−− UNREDACTED (DM, ilcd) (Entered:
                      10/30/2020)
10/30/2020   79       +++ STATEMENT OF REASONS FOR IMPOSING SENTENCE as to
                      William A Goodwill. (DM, ilcd) (Entered: 10/30/2020)
10/30/2020   80       + + COURT'S CONDITIONS OF SUPERVISED RELEASE as to William
                      A Goodwill−−Signed and initialed by Defendant. (DM, ilcd) (Entered:
                      10/30/2020)
11/09/2020   81   19 NOTICE OF APPEAL by William A Goodwill re 77 Judgment, (Vig, William)
                     (Entered: 11/09/2020)
11/09/2020   82   22 DOCKETING STATEMENT by William A Goodwill re 81 Notice of Appeal −
                     Final Judgment. (Vig, William) (Entered: 11/09/2020)




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                  UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                        URBANA DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,

      v.                                    No. 18-20025-SEM-EIL

WILLIAM A. GOODWILL,

            Defendant.

                          NOTICE OF APPEAL

     Notice is hereby given that the Defendant, WILLIAM A.

GOODWILL, appeals to the United States Court of Appeals for the

Seventh Circuit from the conviction, judgment, and order of the

district court imposed on October 26, 2020, and entered on October

30, 2020, sentencing the Defendant to a term of imprisonment of

120 months in the United States Bureau of Prisons for the offense

of Possession of Cocaine with the Intent to Distribute in violation of

21 USC § 841(a)(1) and 841(b)(1)(B).

                               Respectfully submitted,

                               WILLIAM GOODWILL, Defendant




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                          By: s/ William L. Vig

                          William L. Vig (#6284192)
                          VIG LAW, P.C.
                          1100 South 5th Street
                          Springfield, IL 62703
                          (217) 241-5628
                          bill@vig-law.com




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                      CERTIFICATE OF SERVICE

     I hereby certify that on November 9, 2020, I electronically filed

the foregoing with the Clerk of the Court using the CM/ECF system.

Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt.

Parties may access this filing through the Court’s system.

                                   s/ William L. Vig




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                   UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF ILLINOIS
                         URBANA DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

      v.                                    No. 18-20025-SEM-EIL

WILLIAM A. GOODWILL,

             Defendant.

            CIRCUIT RULE 3(c) DOCKETING STATEMENT

     COMES NOW Defendant-Appellant WILLIAM A. GOODWILL,
by his attorney, William L. Vig, and pursuant to Circuit Rule 3(c),
submits the following docketing statement:

     1.    The jurisdiction of the United States District Court for
the Central District of Illinois, Urbana Division, was founded upon
18 U.S.C. § 3231. A grand jury sitting in the aforementioned
district charged the Appellant by indictment with Possession of
Cocaine with the Intent to Distribute in violation of 21 USC §
841(a)(1) and 841(b)(1)(B).

     2.   The jurisdiction of the United States Court of Appeals for
the Seventh Circuit is founded upon 28 U.S.C. § 1291 and 18
U.S.C. § 3742, and is based upon the following particulars:

     i.     Date of entry sought to be reviewed: Judgment in a
            Criminal Case entered on October 30, 2020;

     ii.    Filing date of motion for a new trial: n/a

     iii.   Disposition of motion and date of entry: n/a


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iv.   Filing date of notice of appeal: November 9, 2020.




                          Respectfully submitted,

                          WILLIAM GOODWILL, Defendant


                          By: s/ William L. Vig

                          William L. Vig (#6284192)
                          VIG LAW, P.C.
                          1100 South 5th Street
                          Springfield, IL 62703
                          (217) 241-5628
                          bill@vig-law.com




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                      CERTIFICATE OF SERVICE

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the foregoing with the Clerk of the Court using the CM/ECF system.

Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt.

Parties may access this filing through the Court’s system.

                                   s/ William L. Vig




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                     WILLIAM A. GOODWILL                                                &DVH1XPEHU 18-20025-001
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Title & Section                   Nature of Offense                                                                  Offense Ended          Count
21 USC § 841(a)(1) and               Possession of Cocaine with the Intent to Distribute                              5/16/2018              1s
 841(b)(1)(B)




       7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK                    7         RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
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                                                                            s/ Sue E. Myerscough
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                                                                            SUE E. MYERSCOUGH, U.S. District Judge
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                                                              IMPRISONMENT
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                120 months to run concurrently with the sentence imposed in U.S. District Court, Central District
                of Illinois, case number 03-20104-001.


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       1. That the defendant serve his sentence at the BOP facilty in Terre Haute, Indiana or Rochester, Minnesota, if possible.
       2. That the defendant serve his sentence in a facility that will allow him to participate in the Residential Drug Abuse
       Program (RDAP) and RRC Program.

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           G    DVQRWLILHGE\WKH%XUHDXRI3ULVRQV

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1. The defendant shall not knowingly leave the federal judicial district in which he is approved to reside
without the permission of the Court.

2. The defendant shall report to the probation office in the district to which he is released within 72 hours of
release from custody. The defendant shall report to the probation officer in a reasonable manner and
frequency as directed by the Court or probation officer.

3. The defendant shall follow the instructions of the probation officer as they relate to his conditions of
supervision. He shall answer truthfully the questions of the probation officer as they relate to his
conditions of supervision, subject to his right against self-incrimination.

4. The defendant shall notify the probation officer at least ten days prior to, or as soon as he knows about,
any changes in residence or any time he leaves a job or accepts a job.




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5. The defendant shall permit a probation officer to visit him at home between the hours of 6 a.m. and
11 p.m., at his place of employment while he is working, or at the locations of his court-ordered
treatment providers. Visits may be conducted at any time if the probation officer has reasonable
suspicion to believe that he is in violation of a condition of supervised release or if he or a third party has
reported that he is unable to comply with a directive of the probation officer because of illness or
emergency. During any such visit, he shall permit confiscation of any contraband observed in plain view
of the probation officer.

6. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer. This condition does not prevent him from invoking his Fifth Amendment right
against self-incrimination.

7. The defendant shall not knowingly be present at places where he knows controlled substances are
illegally sold, used, distributed, or administered.

8. The defendant shall not knowingly meet, communicate, or otherwise interact with any person whom
he knows to be a convicted felon or to be engaged in, or planning to engage in, criminal activity, unless
granted permission to do so by the Court.

9. The defendant shall not purchase, possess, use, distribute, or administer any controlled substance or
psychoactive substance that impairs physical or mental functioning, including street, synthetic, or
designer drugs, or any paraphernalia related to any controlled substance or psychoactive substance,
except as prescribed by a physician. He shall, at the direction of the U.S. Probation Office, participate in
a program for substance abuse treatment including not more than six tests per month to determine
whether he has used controlled or psychoactive substances. He shall abide by the rules of the
treatment provider. He shall pay for these services, to the extent he is financially able to pay. The U.S.
Probation Office shall determine his ability to pay and any schedule for payment, subject to the court’s
review upon request. He shall not be deemed financially able to pay if, at the time he begins receiving
substance abuse treatment, he would qualify for court-appointed counsel under the Criminal Justice Act.

U.S. Probation Office Use Only
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                                     ADDITIONAL SUPERVISED RELEASE TERMS

10. The defendant shall refrain from excessive use of alcohol, as defined as the legal limit of impairment in the state
in which he is located.

11. The defendant shall, at the direction of the U.S. Probation Office, participate in and successfully complete a
cognitive behavioral therapy (CBT) program. He shall pay for this service, to the extent he is financially able to pay.
The U.S. Probation Office shall determine his ability to pay and any schedule for payment, subject to the court's
review upon request. He shall not be deemed financially able to pay if, at the time he begins receiving CBT, he
would qualify for court-appointed counsel under the Criminal Justice Act.

12. The defendant shall not knowingly possess a firearm, ammunition, destructive device as defined in 18 U.S.C. §
921(a)(4), or any object that he intends to use as a dangerous weapon as defined in 18 U.S.C. § 930(g)(2).

13. The defendant shall make a meaningful attempt to secure lawful and regular employment, defined as a monthly
average of at least 30 hours per week, unless excused by the U.S. Probation Office for schooling, training, or other
acceptable reason, such as child care, elder care, disability, age, or serious health condition.




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 '()(1'$17 WILLIAM A. GOODWILL
 &$6(180%(5 18-20025-001
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                 JVTA Assessment*                  Fine                        Restitution
 TOTALS             $ 100.00                    $ 0.00                             $ 0.00                    $


 G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                      . $Q Amended Judgment in a Criminal Case (AO 245C) ZLOO EH HQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
      WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ +RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
      EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                       Total Loss**             Restitution Ordered              Priority or Percentage




 TOTALS                              $                          0.00           $                        0.00


 G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW 

 G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

       G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH           G ILQH G UHVWLWXWLRQ
       G WKHLQWHUHVWUHTXLUHPHQWIRUWKH         G ILQH       G     UHVWLWXWLRQLVPRGLILHGDVIROORZV

   -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
    )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQRU
 DIWHU6HSWHPEHUEXWEHIRUH$SULO

                                                                                                                                                    30
                      Case 2:18-cr-20025-SEM-EIL
                                   2:18-cr-20025-SEM-EIL
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                                                               Filed 10/30/20
                                                                     31 of 31 Page 7 of 7
$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH
                       6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                               -XGJPHQW²3DJH      7      RI          7
'()(1'$17 WILLIAM A. GOODWILL
&$6(180%(5 18-20025-001

                                                         SCHEDULE OF PAYMENTS

+DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

$    G
      ✔ /XPSVXPSD\PHQWRI              100.00               GXHLPPHGLDWHO\EDODQFHGXH

           G      QRWODWHUWKDQ                                     RU
           G      LQDFFRUGDQFHZLWK    G    &    G    '   G     (RU     G )EHORZRU
%    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                   G &        G 'RU     G )EHORZ RU
&    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                           RYHUDSHULRGRI
                           (e.g., months or years)WRFRPPHQFH                      (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

'    G 3D\PHQWLQHTXDO                             (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                        RYHUDSHULRGRI
                           (e.g., months or years)WRFRPPHQFH                      (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

(    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                      (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

)    G 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV




8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
WKHSHULRGRILPSULVRQPHQW $OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSWWKRVHSD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH
)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



G -RLQWDQG6HYHUDO
      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
G 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV


3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO  ILQH
LQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  -97$DVVHVVPHQW  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV



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